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FILED -GR
May 22, 2023 1:34 PM
7 oak oF COURT
UNITED STATES DISTRICT COURT WESTERN DISTRICT OF Mn
FOR THE WESTERN DISTRICT OF MICHIGAN BY-JMW sono sr. Et S fae
Ay | tn &. Jenhins
(Enter above the full name of the plaintiff(s), including prisoner number, in this action. If 1 -23-cv-530

you cannot list all plaintiffs in the space provided, please write “see attached” and list all
names on an additional page.)

Secrien ¢ ounty

Sally J. Berens
U.S. Magistrate Judge

 

 

 

 

(Enter above the full name of the defendant(s) in this action. If you cannot list all defendants
in the space provided, please write “see attached” and list all names on an additional page.)

COMPLAINT
(Print Clearly)

I. Previous Lawsuits
CAUTION: The Prison Litigation Reform Act has resulted in substantial changes in the ability of incarcerated individuals

to initiate lawsuits in federal courts without prepayment of the civil action filing fee. Accurate and complete responses
are required concerning your litigation history. Generally, a plaintiff's failure to accurately and completely answer the
questions set forth below will result in denial of the privilege of proceeding in forma pauperis and require you to pay
the entire $402.00 filing fee regardless of whether your complaint is dismissed.

A. Have you ever filed a lawsuit while incarcerated or detained in any prison or jail facility? Yes No of

B. If your answer to question A was yes, for each lawsuit you have filed you must answer questions 1 through 5
below. Attach additional sheets as necessary to answer questions 1 through 5 below with regard to each lawsuit.

1. Identify the court in which the lawsuit was filed. If it was a state court, identify the county in which the suit
was filed. If the lawsuit was filed in federal court, identify the district within which the lawsuit was filed.

 

2 Is the action still pending? YesO No

a. If your answer was no, state precisely how the action was resolved:

 

 

3. Did you appeal the decision? YesO No

4. Is the appeal still pending? YesO NoO
a. Ifnot pending, what was the decision on appeal?

 

 

5. Was the previous lawsuit based upon the same or similar facts asserted in this lawsuit? Yes NoO

a. If so, explain:

 

 

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Parties
A. Plaintiff(s)

Enter your name, place of confinement, address, and place of confinement during the events described in the complaint
in the blanks below. Provide the same information for any additional plaintiffs. Attach extra sheets as necessary.

Name of Plaintiff Vu len “Jen kins

Place of Present Confinement f ye. yr [ it Cou nty

Address Q\9 ‘Pock $ +.

Place of Confinement During Events Described in Complaint Re XC 12”) Cou ery

B. Defendant(s)

Complete the information requested below for each defendant in this action, including whether you are suing each
defendant in an official and/or personal capacity. Provide the same information for each additional defendant. If there
are more than six defendants attach extra sheets as necessary.

Name of Defendant #1 Tyler Doots

 

 

 

t ‘
Position or Title De +4 tive t s
Place of Employment State Police Defective ._/ Michi¢ay Stale. Alice ; Detect Otic
Address

 

 

Official and/or personal capacity?

Name of Defendant #2

 

Position or Title

 

Place of Employment

Address

 

 

Official and/or personal capacity?

 

Name of Defendant #3

 

Position or Title

 

Place of Employment

 

Address

 

Official and/or personal capacity?

 

Name of Defendant #4

 

Position or Title

 

Place of Employment

Address

 

 

Official and/or personal capacity?

 

Name of Defendant #5

 

Position or Title

 

Place of Employment

Address

 

 

Official and/or personal capacity?

 

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Ill. Statement of Claim

State here the facts of your case. Describe how each defendant is personally involved. Include also the names of other
persons involved, dates and places. Do not give any legal arguments or cite any cases or statutes. If you intend to
allege a number of related claims, number and set forth each claim in a separate paragraph. Do not include unrelated
claims. Use as much space as you need. Attach eee if necessary.

 

 

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IV. Relief

State briefly and precisely what you want the court to do for you.

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V. Notice to Plaintiff Regarding Consent

In accordance with the provisions of 28 U.S.C. § 636(c) and Federal Rule of Civil Procedure 73, you are
hereby notified that the United States magistrate judges of this district court may, upon your consent, conduct
any or all proceedings in this case, including a jury trial and entry of a final judgment. If you consent, any
appeal from a judgment entered by a magistrate judge shall be taken directly to the United States Court of
Appeals for this judicial circuit in the same manner as an appeal from any other judgment of a district court.

Magistrate judges have greater flexibility in their schedules than district judges, who have heavy criminal
caseloads that take priority over civil trials. Accordingly, the magistrate judges are generally able to schedule
prisoner civil rights cases for jury trial much sooner, and they are able to provide firm trial dates. Magistrate
judges are experienced trial judges who handle a great number of prisoner civil rights cases.

Your decision to consent to the dispositive jurisdiction of a United States magistrate is entirely voluntary. If
you do not consent to a magistrate judge, the case will be randomly assigned to a district judge. The
magistrate judge already assigned to this case would continue to decide all pretrial matters and would handle
all dispositive motions by report and recommendation.

Please check ONE box below to indicate whether you voluntarily consent to proceed with a United States
nee judge or if you would instead prefer that the case be assigned to a district judge.

| hereby voluntarily consent to the United States magistrate judge conducting all proceedings in
this case, including entry of a final judgment and all post-judgment matters.

[1 |request that this case be assigned to a district judge.

04/2/28

Date “ Signatdére of Plaintiff

 

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NOTICE TO PLAINTIFF(S

 

The failure of a pro se litigant to keep the court apprised of an address change may be considered cause
for dismissal.

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